                                           Case 3:22-cv-04261-VC Document 22 Filed 09/22/22 Page 1 of 2




                                   1                                     UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                               $XWRPDWHG3HW&DUH3URGXFWV//&
                                   4                                                  ,        Case No. 5:22-cv-04261-SVK
                                               GED:KLVNHU
                                                         Plaintiff(s),
                                   5
                                                                                               APPLICATION FOR ADMISSION OF
                                                   v.                                          ATTORNEY PRO HAC VICE
                                   6
                                                                                               (CIVIL LOCAL RULE 11-3)
                                   7         3XU/LIH%UDQGV,QFGED6PDUW\3HDU   ,
                                                         Defendant(s).
                                   8

                                   9

                                  10          I, Erik 
                                                      B. Milch                   , an active member in good standing of the bar of

                                  11    Virginia                                 , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:    3ODLQWLII$XWRPDWHG3HW&DUH3URGXFWV//& in   the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Bobby Ghajar                                , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     198719
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16
                                       )UHHGRP'UWK)O5HVWRQ9$            QG6W6WH6DQWD0RQLFD&$
                                  17    MY ADDRESS OF RECORD                                    LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (703) 456-8573                                          (310) 883-6400
                                        MY TELEPHONE # OF RECORD                                LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       emilch@cooley.com                                       bghajar@cooley.com
                                  20    MY EMAIL ADDRESS OF RECORD                              LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 46375                              .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                            Case 3:22-cv-04261-VC Document 22 Filed 09/22/22 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: September 22, 2022                                     Erik B. Milch
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Erik B. Milch                           is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16
                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                       Updated 11/2021                                   2
